              Case 4:17-cv-03987-JST Document 24 Filed 10/03/17 Page 1 of 1




 1                              UNITED STATES DISTRICT COURT
 2                            NORTHER DISTRICT OF CALIFORNIA
 3                                         SAN FRANCISCO
 4
 5   JAVIER CORRAL,                                 )   Case No.: 3:17-cv-3987-JST
                                                    )
 6                    Petitioner,                   )   Agency No. 205-907-451
 7           vs.                                    )
                                                    )   [PROPOSED] ORDER GRANTING
 8   JEFFERSON B. SESSIONS, in his official         )   STIPULATED EXTENSION OF TIME
     capacity as Attorney General of the United     )
 9   States; ELAINE DUKE, in her official           )
10   capacity as Acting Secretary of the U.S.       )
     Department of Homeland Security; DAVID )
11   JENNINGS, in his official capacity as Sheriff- )
     Coroner of Contra Costa County in charge of )
12   the West County Detention Facility,            )
13                                                  )
                     Respondents.                   )
14                                                  )
15
16          PURSUANT TO STIPULATION, IT IS SO ORDERED that the parties’
17   request to extend the time period for Respondents to Reply to Petitioner’s
18   Opposition to Respondents’ Motion to Dismiss is GRANTED.
19          Respondents’ Reply shall be due October 13, 2017.
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21
22    Date: __________________________
              October 3, 2017          _______________________________
                                       Honorable Jon S. Tigar
23
                                       United States District Judge
24
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